     Case 5:22-cv-02103-MCS-AFM Document 1 Filed 11/28/22 Page 1 of 10 Page ID #:1



 1   DANIEL MALAKAUSKAS, Cal. Bar. No.: 265903
     MALAKAUSKAS LAW, APC
 2
     7345 South Durango Drive
 3   Suite B-107-240
     Las Vegas, NV 89113
 4   Tel: 866-790-2242 / Fax: 888-802-2440
     daniel@malakauskas.com
 5
 6   Attorney for Plaintiff: Frank Singh

 7
                                       UNITED STATES DISTRICT COURT
 8
 9                                CENTRAL DISTRICT OF CALIFORNIA

10                                           EASTERN DIVISION
11
12   FRANK SINGH,                                         Case No.:
13                        Plaintiff,                      COMPLAINT BY FRANK SINGH AGAINST
14                                                        YUM YUM DONUT SHOPS, INC., et al., FOR
     v.                                                   DAMAGES AND INJUNCTIVE RELIEF
15                                                        RESULTING FROM VIOLATIONS OF 1)
                                                          TITLE III OF THE AMERICANS WITH
16                                                        DISABILITIES ACT OF 1990; 2) THE UNRUH
17   YUM YUM DONUT SHOPS, INC., as an entity              CIVIL RIGHTS ACT; and 3) THE
     and doing business as “Yum Yum #9042”, and           CALIFORNIA DISABLED PERSONS ACT.
18   DOES 1-50, Inclusive,
                                                          [42 U.S.C. §§ 12101-12213; Cal. Civ. Code §§ 51,
19                        Defendants.                     52, 54, 54.1, 54.2 and 54.3.]
20
21
22           Comes now the Plaintiff, FRANK SINGH, (hereafter, “Mr. Singh” or “Plaintiff”) through his

23    Attorney, DANIEL MALAKAUSKAS, 7345 South Durango Drive, Suite B-107-240, Las Vegas, NV

24    89113; Telephone: (866) 790-2242; Facsimile: (888) 802-2440; who, having been denied his civil
25
      rights, hereby respectfully alleges, avers, and complains as follows:
26
27
                 THIS COURT CAN GRANT JUSTICE TO A DISABLED INDIVIDUAL
28


           COMPLAINT BY SINGH AGAINST YUM YUM DONUT SHOPS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                       -1-
     Case 5:22-cv-02103-MCS-AFM Document 1 Filed 11/28/22 Page 2 of 10 Page ID #:2



 1           1.     Mr. Singh is a disabled person, confined to a wheelchair, who suffers from the medical
 2
      condition C-6-7 Tetraplegia.
 3
             2.     In February 2022, Mr. Singh was denied the full and equal access to a public
 4
      accommodation located at 623 South Citrus Avenue, Covina, CA 91723..
 5
 6           3.     Mr. Singh now asks that this Court stand up for his rights under the Americans with

 7    Disabilities Act (“ADA”), the Unruh Civil Rights Act (“UCRA”) and the California Disabled Persons
 8
      Act (“CDPA”).
 9
10       THE UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA,
11         EASTERN DIVISION, HAS JURISDICTION AND IS THE PROPER VENUE FOR
                              PLAINTIFF TO SEEK JUSTICE
12
             4.     The United States District Court has original federal question jurisdiction over this action
13
14    pursuant to 28 U.S.C. § 1331 and § 1343(a)(3) and (a)(4), for violations of the Americans with

15    Disabilities Act, 42 U.S.C. §§ 12101, et seq. This Court has supplemental jurisdiction over all state
16    claims, including, but not limited to, claims under the Unruh Civil Rights Act, Cal. Civ. Code § 51, et
17
      seq., and/or the California Disabled Persons Act, Cal. Civ. Code §§ 54-55.3, pursuant to 28 U.S.C. §
18
      1367 as such acts not only expressly incorporate the Americans with Disabilities Act, but such state
19
20    law claims also arose from the same nucleus of operative facts or transactions.

21           5.     Venue in this Court is proper under 28 U.S.C. § 1391(b)(2) as the claims alleged herein
22    arose in the Central District, specifically at the real property located at 623 South Citrus Avenue,
23
      Covina, CA 91723..
24
             6.     The Eastern Division of the Central District of California, is the proper division because
25
26    all claims herein arose at the real property located at 623 South Citrus Avenue, Covina, CA 91723..

27
28                              THE VICTIM AND THOSE RESPONSIBLE



           COMPLAINT BY SINGH AGAINST YUM YUM DONUT SHOPS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                       -2-
     Case 5:22-cv-02103-MCS-AFM Document 1 Filed 11/28/22 Page 3 of 10 Page ID #:3



 1           7.      Mr. Singh is a disabled person, confined to a wheelchair, who suffers from the medical
 2
      condition C-6-7 Tetraplegia. Mr. Singh is therefore a “person with a disability” and a “physically
 3
      disabled person” and has a “disability” or “medical condition” pursuant to the rules and regulations of
 4
      the ADA, specifically 42 U.S.C § 12102 and Cal. Civ. Code §§ 51 and 54. Mr. Singh has filed ten (10)
 5
 6    complaints (if including this complaint) alleging construction related accessibility violations in the

 7    proceeding twelve (12) months and is therefore a high-frequency litigant pursuant to Cal. Code of Civ.
 8
      P. §425.55.
 9
             8.      Defendants, YUM YUM DONUT SHOPS, INC., and Does 1-50 (hereafter, collectively
10
      or individually, “Tenant”), operate as a business establishment, hold themselves out to the public, and
11
12    do business as “Yum Yum #9042” at 623 South Citrus Avenue, Covina, CA 91723., and have

13    substantial control over the interior and exterior of the building, the parking lot, and all spaces adjacent
14
      to such building.
15
             9.      Defendants, YUM YUM DONUT SHOPS, INC., and Does 1-50 (hereafter, collectively
16
      or individually, “Landlord”, in their commercial real estate investment, owner, or landlord capacity),
17
18    own, operate, manage, and have substantial control over the real property, including the interior and

19    exterior of the building, parking lot and all spaces adjacent to the building located at 623 South Citrus
20
      Avenue, Covina, CA 91723.
21
             10.     Defendants, Does 26-50, are individuals, businesses, organizations, or entities which
22
      entered into a contract with Defendants, Landlord, and/or Does 1-50, as property managers or
23
24    franchisees for the real property and adjacent parking lot, and as such have substantial control over the

25    real property located at 623 South Citrus Avenue, Covina, CA 91723..
26
             11.     The true names and capacities of the Defendants named herein as Does 1-50, inclusive,
27
      whether individual, corporate, partnership, association, or otherwise, are unknown to Plaintiff who
28


           COMPLAINT BY SINGH AGAINST YUM YUM DONUT SHOPS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                        -3-
     Case 5:22-cv-02103-MCS-AFM Document 1 Filed 11/28/22 Page 4 of 10 Page ID #:4



 1    therefore sues these Defendants by such fictitious names. Plaintiff requests leave of court to amend this
 2
      complaint to allege their true names and capacities at such times as they are ascertained.
 3
             12.     Plaintiff is informed and believes and thereon alleges that each of the Defendants,
 4
      including Does 1-50, caused and are responsible for the below described unlawful conduct and
 5
 6    resulting injuries by, among other things, personally participating in the unlawful conduct or acting

 7    jointly or conspiring with others who did so; by authorizing, acquiescing in or setting in motion
 8
      policies, plans or actions that led to the unlawful conduct; by failing to take action to prevent the
 9
      unlawful conduct; by failing and refusing with deliberate indifference to Plaintiff’s rights to equal
10
      access to public spaces; and by ratifying the unlawful conduct that occurred by agents, and officers or
11
12    entities under their direction and control.

13
14                      MR. SINGH WAS DENIED EQUAL ACCESS TO A
                PUBLIC ACCOMMODATION AND NOW FIGHTS FOR ALL DISABLED
15
             13.     Mr. Singh is a disabled person, confined to a wheelchair, who suffers from the medical
16
17    condition C-6-7 Tetraplegia. Mr. Singh is therefore a “person with a disability” and a “disabled person”

18    and has a “disability” or “medical condition” pursuant to federal law, rules and regulations, specifically
19    42 U.S.C § 12102, and 28 C.F.R. § 36.104.
20
             14.     In February 2022, Mr. Singh desired to go to and use the services, and/or buy products
21
      at the “Yum Yum #9042” located at 623 South Citrus Avenue, Covina, CA 91723. The business “Yum
22
23    Yum #9042” was in an adjacent shopping center to another business Mr. Singh would visit and Mr.

24    Singh desired some breakfast items.
25           15.     While in the parking lot adjacent to, surrounding, or while inside the business “Yum
26
      Yum #9042,” Mr. Singh personally encountered barriers that interfered with his ability, to use and
27
      enjoy the goods, services, privileges and accommodations offered by the facility.
28


           COMPLAINT BY SINGH AGAINST YUM YUM DONUT SHOPS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                        -4-
     Case 5:22-cv-02103-MCS-AFM Document 1 Filed 11/28/22 Page 5 of 10 Page ID #:5



 1            16.    Specifically, and personally, Mr. Singh experienced difficulty while going to the
 2
      business known as “Yum Yum #9042.” Mr. Singh had difficulty as not only was the entrance door too
 3
      heavy but there was a steep slope in front of the entrance door which made it more difficult to open in
 4
      a wheelchair. This caused Mr. Singh difficulty and hardship.
 5
 6            17.    Despite Mr. Singh’s wish to patronize the business in the future, as the business is near

 7    other businesses Mr. Singh visits, the above-mentioned barriers constitute deterrents to access to the
 8
      business, rendering the business’ goods, services, facilities, privileges, advantages, and
 9
      accommodations unavailable to physically disabled patrons such as himself.
10
              18.    Mr. Singh alleges, on information and belief, that Defendants knew that such barriers
11
12    existed and that Defendants’ failure to remove the barriers was intentional as the particular barriers

13    mentioned above were intuitive and obvious. Additionally, Defendants exercised control and dominion
14
      over the condition of the real property and building and had the financial resources to remove such
15
      barriers. Furthermore, Mr. Singh alleges, on information and belief, that such modifications were
16
      readily achievable as removal of the above barriers could have been achieved without much difficulty
17
18    or expense.

19            19.    Mr. Singh brings this lawsuit to encourage Defendants to ensure their property is
20
      accessible to all.
21
22                                           FIRST CLAIM
23                                 VIOLATION OF TITLE III OF THE ADA
                                          (As to all Defendants)
24
              20.    Plaintiff hereby incorporates and realleges, as if fully set forth herein, each and every
25
26    allegation contained in all prior and subsequent paragraphs.

27            21.    The parking lot and building at the real property known as 623 South Citrus Avenue,
28    Covina, CA 91723. is owned, controlled, operated, leased, and managed by Defendants: Landlord,


            COMPLAINT BY SINGH AGAINST YUM YUM DONUT SHOPS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                        -5-
     Case 5:22-cv-02103-MCS-AFM Document 1 Filed 11/28/22 Page 6 of 10 Page ID #:6



 1    Does 1-50, or their agents. The business “Yum Yum #9042,” including its parking lot, is open to the
 2
      general public and as such is a “public accommodation” under 42 U.S.C. § 12181 and 28 C.F.R. §
 3
      36.104.
 4
             22.      Pursuant to 42 U.S.C. § 12182(a), by owning, leasing, or operating the public
 5
 6    accommodation known as “Yum Yum #9042,” Defendants are prohibited from discriminating against

 7    Plaintiff by denying him, on the basis of his disability, the full and equal enjoyment of the goods,
 8
      services, facilities, privileges, advantages, or accommodations offered by the facility.
 9
             23.      In order to avoid discriminating against a disabled individual pursuant to 28 C.F.R. §
10
      36.101 and § 36.102, Defendants must ensure that such public accommodation is designed, constructed,
11
12    and altered in compliance with the accessibility standards established by 28 C.F.R. § 36.101 et seq.,

13    and have proper policies, practices, and procedures to ensure that individuals with disabilities are
14
      afforded equal access to the full and equal enjoyment of the goods, services, facilities, privileges,
15
      advantages, or accommodations offered by the public accommodation. 42 U.S.C. §§ 12181(9),
16
      12182(b)(2)(A)(iv) and (v), 12183(a)(1) and (2).
17
18              24.   Mr. Singh is a disabled person, confined to a wheelchair, who suffers from the medical

19    condition C-6-7 Tetraplegia. Plaintiff is therefore a “person with a disability” and a “disabled person”
20
      and has a “disability” or “medical condition” pursuant to federal law, rules and regulations, specifically
21
      42 U.S.C § 12102 and 28 C.F.R. § 36.104. While at the interior, exterior, parking lot, or adjacent
22
      spaces, of the business known as “Yum Yum #9042,” Plaintiff personally encountered a number of
23
24    barriers that interfered with his ability, to use and enjoy the goods, services, privileges and

25    accommodations offered at the facility.
26
27
28


           COMPLAINT BY SINGH AGAINST YUM YUM DONUT SHOPS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                       -6-
     Case 5:22-cv-02103-MCS-AFM Document 1 Filed 11/28/22 Page 7 of 10 Page ID #:7



 1           25.    Specifically, Defendants failed to ensure that such real property was equally accessible
 2
      to individuals with disabilities and medical conditions by having the following barriers at the real
 3
      property:
 4
             a.     The alleged accessible route’s ground surface has one or more openings that exceeds
 5
 6           one-half inch (1/2”) in violation of 2010 ADAS 403.2, 2013 CBC 11B-403.2, and, 2016 CBC

 7           11B-403.2;
 8
             b.     The alleged accessible entrance door(s) requires more than five pounds (5 lbs.) of force
 9
             to push or pull open in violation of 2013 CBC 11B-404.2.9 and 2016 CBC 11B-404.2.9;
10
            c.      The entrance door surface within ten inches (10”) of the finished floor or ground
11
12          surface does not have a smooth surface on the push side of the door in violation of 2010 ADAS

13          404.2.10, 2013 CBC 11B-404.2.10 & 2016 CBC 11B-404.2.10;
14
            d.      The required maneuvering clearance of the ground in front, or behind, of the entrance
15
            door exceeds two-point-zero-eight percent (2.08%) in violation of 1991 ADAAG 4.13.6, 2010
16
            ADAS 404.2.4.4, 2013 CBC 11B-404.2.4.4 and 2016 CBC 11B-404.2.4.4;
17
18          e.      There are no outdoor accessible dining surfaces provided in violation of 1991 ADAAG

19          5.1, 2010 ADAS 226.1, 2013 CBC 11B-226.1, 2016 CBC 11B-226.1.
20
             26.    As a direct and proximate cause of Defendants’ conduct, Plaintiff, on the basis of his
21
      disabilities, was denied the opportunity to participate in or benefit from a good, service, privilege,
22
      individuals in violation of 42 U.S.C. § 12181.
23
24           27.    Plaintiff seeks injunctive relief to prohibit Defendants’ acts and omissions as complained

25    of herein which have the effect of wrongfully discriminating against Plaintiff and other members of the
26
      public who are physically disabled from full and equal access to these public facilities. Specifically,
27
      Plaintiff seeks injunctive relief ensuring that Defendants modify their real property to ensure that
28


           COMPLAINT BY SINGH AGAINST YUM YUM DONUT SHOPS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                       -7-
     Case 5:22-cv-02103-MCS-AFM Document 1 Filed 11/28/22 Page 8 of 10 Page ID #:8



 1    disabled persons are not discriminated against in receiving equal access to goods, services, and facilities
 2
      as other more able-bodied persons.
 3
 4                                        SECOND CLAIM
 5                           VIOLATIONS OF CALIFORNIA CIVIL CODE § 51
                                        (As to all Defendants)
 6
             28.    Plaintiff hereby incorporates and realleges, as if fully set forth herein, each and every
 7
 8    allegation contained in all prior and subsequent paragraphs.

 9           29.    Any violation of the ADA 42 U.S.C. §§ 12101-12213 also constitutes a violation of Cal.
10    Civ. Code § 51(f) and § 52(a), thus independently justifying an award of damages and injunctive relief
11
      pursuant to California law.
12
             30.    On the basis of his disabilities, Plaintiff was denied the opportunity to participate in or
13
14    benefit from a good, service, privilege, advantage or accommodation in a manner equal to that afforded

15    to other non-disabled individuals which resulted in Plaintiff’s difficulty, discomfort, or embarrassment.
16    Therefore, pursuant to Cal. Civ. Code § 55.56(a) through (c), Plaintiff is entitled to attorneys’ fees,
17
      costs, and damages of no less than four-thousand U.S. dollars (4,000 USD) for each and every violation.
18
19
                                          THIRD CLAIM
20                           VIOLATIONS OF CALIFORNIA CIVIL CODE § 54
                                        (As to all Defendants)
21
             31.    Plaintiff hereby incorporates and realleges, as if fully set forth herein, each and every
22
23    allegation contained in all prior and subsequent paragraphs.

24           32.    Any violation of the ADA 42 U.S.C. §§ 12101-12213 also constitutes a violation of Cal.
25
      Civ. Code § 54.1(d) and § 54.3(a), thus independently justifying an award of damages and injunctive
26
      relief pursuant to California law.
27
28


           COMPLAINT BY SINGH AGAINST YUM YUM DONUT SHOPS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                        -8-
     Case 5:22-cv-02103-MCS-AFM Document 1 Filed 11/28/22 Page 9 of 10 Page ID #:9



 1           33.    On the basis of his disabilities, Plaintiff was denied the opportunity to participate in or
 2
      benefit from a good, service, privilege, advantage or accommodation in a manner equal to that afforded
 3
      to other non-disabled individuals, which resulted in Plaintiff’s difficulty, discomfort or embarrassment.
 4
      Therefore, pursuant to Cal. Civ. Code § 55.56(a) through (c), Plaintiff is entitled to attorneys’ fees,
 5
 6    costs, and damages on no less than one-thousand U.S. dollars (1,000 USD) for each and every violation.

 7
 8                                                    PRAYER

 9
      WHISEFORE, Plaintiff prays the following:
10
             1.     For injunctive relief directing Defendants to modify their facilities and policies as
11
      required by law to comply with ADA regulations, including the ADAAG where required; institute
12
13    policy to enable Plaintiff to use goods and services offered to the non-disabled public; provide adequate

14    access to all citizens, including persons with disabilities; issue a permanent injunction directing
15
      Defendants to maintain their facilities usable by Plaintiff and similarly situated person with disabilities
16
      in compliance with federal regulations, and which provide full and equal access, as required by law;
17
             2.     Retain jurisdiction over Defendants until such time as the Court is satisfied that
18
19    Defendants’ unlawful policies, practices, acts and omissions, and maintenance of inaccessible public

20    facilities as complained of herein no longer occur and will not recur;
21
             3.     Award Plaintiff all appropriate damages, including, but not limited to, either statutory
22
      damages of no less than four-thousand U.S. dollars (4,000 USD) for each and every violation of Cal.
23
      Civ. Code § 51, or no less than one-thousand U.S. dollars (1,000 USD) for each and every violation of
24
25    Cal. Civ. Code § 54, with either Cal. Civ. Code § 51 or § 54 being elected prior to, or at, trial, but not

26    both, and general damages in an amount within the jurisdiction of the Court, according to proof;
27
28


           COMPLAINT BY SINGH AGAINST YUM YUM DONUT SHOPS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                        -9-
     Case 5:22-cv-02103-MCS-AFM Document 1 Filed 11/28/22 Page 10 of 10 Page ID #:10



 1             4.     Award Plaintiff all litigation expenses and costs of this proceeding, and all reasonable
 2
       attorneys’ fees as provided by law, including but not limited to, 42 U.S.C. § 12205, Cal. Civ. Code §§
 3
       52 and 54.3; and
 4
               5.     Grant such other and further relief as this Court may deem just and proper.
 5
 6
 7     Dated: November 19th, 2022
 8
                                                                     /s/ Daniel Malakauskas
 9                                                                   By: DANIEL MALAKAUSKAS
                                                                     Attorney for PLAINTIFF
10                                                                   FRANK SINGH
11
12                                                VERFICIATION

13            I declare under penalty of perjury under the laws of the state of California that the above is true
14
       and correct.
15
16
       Dated: November 19th, 2022.                                   /s/Frank Singh______________________
17
                                                                     By: FRANK SINGH, PLAINTIFF
18
19
20
21
22
23
24
25
26
27
28


             COMPLAINT BY SINGH AGAINST YUM YUM DONUT SHOPS, INC., ET AL., FOR DAMAGES AND INJUNCTIVE RELIEF

                                                        - 10 -
